Main Document

Steven T. Gubner - Bar No. 156593
Richard D. Burstein ~ Bar No. 056661
Barak Vaughn - Bar No. 227926
EZRA | BRUTZKUS | GUBNER LLP
21650 Oxnard Street, Suite 500
Woodland Hills, CA 91367
Telephone: 818.827.9000

Facsimile: 818.827.9099

Att \meys for David R. Hagen,

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OCT 2A aT 5

Chapter 7 Trustee

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-S, BANMRUPTOY COUR
Deputy Cis

CENTRAL DISTRICT &

CLERK, U.
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In Re

MERIDIAN HEALTH CARE SERVICES,
INC., a Delaware corporation

DAVID R. HAGEN, Chapter 7 Trustee,
Plaintiff,
VS.

NAUTIC PARTNERS, LLC, etc., et al.

Defendants.

NORTHRIDGE MEDICAL GROUP, INC., a
California professional medical corporation,
and FAMILY/SENIORS MEDICAL GROUP,
INC., a California professional medical
corporation,

Counterclaimants and Cross-Claimants,
VS.

MERIDIAN HEALTH CARE
MANAGEMENT, INC., debtor; NAUTIC
PARTNERS, LLC, a Delaware limited hability!
company; CHISHOLM PARTNERS IV, LP, a
Delaware limited liability company; FLEET
VENTURE RESOURCES, INC., a Delaware
corporation; FLEET EQUITY PARTNERS
VI, LP, a Delaware limited liability company;
KENNEDY PLAZA PARTNERS II, LLC, a
Delaware limited liability company; SCOTT

UNITED STATES BANKRUPTCY COUR Bis.

Case 1:07-ap-01186-GM Doc27_ Filed 10/25/07 Entered 10/29/07 13:53:28 Desc

Page 1 of 9 ©

CENTRAL DISTRICT OF CALIFORNIA
SAN FERNANDO VALLEY DIVISION

Case No. 1:06-bk-10733 GM
Chapter 7
Adv. No. 1:07-ap-01186 GM

STIPULATION EXTENDING TIME TO
OPPOSE AND REPLY RE E4E MOTION
TO DISMISS; ORDER THEREON

Date: November 7, 2007

Time: 1:30 p.m.

Place: Ctrm 303
21041 Burbank Boulevard
Woodland Hills, CA

Case 1:07-ap-01186-GM Doc27_ Filed 10/25/07 Entered 10/29/07 13:53:28 Desc

Main Document Page 2 of 9

HILINSKI, and individual; BRIAN SATO, an
individual, and MICHAEL ALPER, an
individual,

Counterdefendant and Cioss-
Defendants

STIPULATION
It Is Hereby Stipulated, by and between the parties hereto, through their respective counsel
that there is presently pending a motion to dismiss by defendant e4e, Inc. This motion to dismiss is
set for hearing on November 7, 2007 before this Court at 1:30pm. The parties hereto stipulate that
the trustee's time within which to file and serve any opposition to the motion to dismiss is extended
through and including October 26, 2007, and the time for e4e to file and serve any reply thereto is
similarly extended by two calendar days until November 2, 2007.

Dated: October 2 2 , 2007

Richard D Burstein NJ
Attorneys for David R. Hagen,
Chapter 7 Trustee

Dated: October 3 , 2007 KELLY LYTTON & VANN LLP

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Peter C. Bronson, Esq.
Attorneys for e4e Incorporated

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It Is So Ordered.

Dated: caf ul”

Case 1:07-ap-01186-GM Doc27_ Filed 10/25/07 Entered 10/29/07 13:53:28 Desc

Main Document Page 3of9

ORDER

, 2007

et tet

GERALDINE MUND,
UNITED STATES BANKRUPTCY JUDGE

Case 1:07-ap-01186-GM Doc27_ Filed 10/25/07 Entered 10/29/07 13:53:28 Desc
Main Document Page 4of9

PROOF OF SERVICE

At the time of service I was over 18 years of age and not a party to this action. My business
address is 21650 Oxnard Street, Suite 500 Woodiand Hills, CA 91367.

On October 2A , 2007, I served the following documents on the persons listed below, as
follows: STIPULATION EXTENDING TIME TO OPPOSE AND REPLY RE E4E MOTION TO
DISMISS; ORDER THEREON

SEE ATTACHED LIST

[X| By United States mail: I enclosed the documents in a sealed envelope or package
addressed to the persons at the addresses listed above and placed the envelope for collection
and mailing, following our ordinary business practices. I am readily familiar with this
business’s practice for collecting and processing correspondence for mailing. On the same
day that correspondence is placed for collection and mailing, it is deposited in the ordinary
course of business with the United States Postal Service, in a sealed envelope with postage
fully prepaid. I am a resident or employed in the county where the mailing occurred. The
envelope or package was placed in the mail at Woodland Hills, CA.

|] By overnight delivery: | enclosed the documents in an envelope or package provided by
an overnight delivery carrier and addressed to the persons at the addresses listed above. |
placed the envelope or package for collection and overnight delivery at an office or a
regularly utilized drop box of the overnight delivery carrier.

[| By messenger service: | served the documents by placing them in an envelope or package
addressed to the persons at the addresses listed above and providing them to a professional
messenger service for service.

|| By fax transmission: Based on an agreement of the parties to accept service by fax
transmission, I faxed the documents to the persons at the fax numbers listed above. No
error was reported by the fax machine that I used. A copy of the record of the fax
transmission, which I printed out, is attached.

| By e-mail or electronic transmission: Based on a court order or an agreement of the
parties to accept service by e-mail or electronic transmission, I caused the documents to be
sent to the persons at the e-mail addresses listed above. I did not receive, within a
reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful.

I declare that I am employed in the office of a member of the bar of this Court at whose
direction the service was made.

Executed on October 24 , 2007, at Woodland THills, CA.

pase 1:07-ap-01186-GM Doc27 Filed 10/25/07 Entered 10/29/07 13: 93:28

Main Document

Page 5 of 9

SERVICE LIST

In re Meridian Health Care Management, Inc./David R. Hagen,
Chapter 7 Trustee vs. Nautic Partners, LLC, ete.,et al.
Case No. 1:06-10733-GM/Adv. No. 1:07-ap-01186-GM

Desc

Attorneys to Debtor

Debra I. Grassgreen, Esq.

Pachulski, Stang, Ziehl, Young, et al
150 California Street, 15" Floor

San Francisco, CA 94111-4500

Office of the United States Trustee
21051 Warner Center Lane

Suite 115

Woodland Hills, CA 91367

Chapter 7 Trustee

David R. Hagen

Merritt & Hagen

6320 Canoga Ave., Suite 1400
Woodland Hills, CA 91367

Attorneys for Defendants/Nautic Parties
Sara L. Chenetz, Esq.

Joshua Briones, Esq.

DLA Piper US LLP

1999 Avenue of the Stars, Suite 400
Los Angeles, CA 90067

Attorneys for e4e Incorporated

Peter C. Bronson, Esq.

Kathryn Kerfes Amira, Esq.

Kelly Lytton & Vann LLP

1900 Avenue of the Stars, Suite 1450
Los Angeles, CA 90067

Attorneys for Defendants/Nautic Parties
Mark A. Nadeau, Esq.

DLA Piper US LLP

2415 E. Camelback Road, Suite 700
Phoenix, AZ 85016

Attorneys for e4e Incorporated
Tyler Baker, Esq.

Fenwick & West LLP

Silicon Valley Center

801 California Center
Mountain View, CA 94041

Attorneys for Scott Hilinski
Jonathan L. Kotlier, Esq.
Sarah Walters, Esq.

Nutter, McClennan & Fish
World Trade Center Wests
155 Seaport Blvd.

Boston, MA 02210

Attorneys for ede Incorporated
Mark Porter, Esq.

Fenwick & West LLP

555 California Street, 12th Floor
San Francisco, CA 94104

Attorneys for Scott Hilinski

James K, Rubiner, Esq.

Bird, Marella, Boxer, Wolpert, Nessim,
Drooks & Lincenberg

1875 Century Park East, 23 Floor

Los Angeles, CA 90067

Attorneys for Northridge Medical Group, Inc. and

Attorneys for Family/Seniors Medical

Family/Seniors Medical Group, Inc.
Uzzell S. Branson M1, Esq.

Law Offices of Uzzell 8. Branson III
225 South Lake Avenue, Suite 1400
Pasadena, CA 91101

Group. Inc.
Jay D. Christensen, Esq.

Stephen G. Auer, Esq.
Christensen & Auer

225 8. Lake Avenue, Suite 860
Pasadena, CA 91101

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Page 6 of 9

Attorneys for Northridge Medical Group, Inc.
Mark B. Chassman, Esq.

Rhonda E. Kaley, Esq.

Chassman & Seelig, LLP

World Trade Center

350 South Figueroa Street, Suite 580

Los Angeles, CA 90071-1102

Attorneys for Northridge Medical Group, Inc.
Tin Kin Lee, Esq.

Law Offices of Tin Kin Lee

55 South Lake Avenue, Suite 705

Pasadena, CA 91101

Attorneys for Brian Sato

Mark T. Hiraide, Esq.

Petillon & Hiraide, LLP

21515 Hawthorne Blvd., Suite 1260
Torrance, CA 90503

Attorneys for Michael Alper

James A. Kohn, Esq.

Moldo Davidson Fraioli Seror & Sestanovich LLP
2029 Century Park East, 21% Floor

Los Angeles, CA 90067

33509

Case 1:07-ap-01186-GM Doc27_ Filed 10/25/07 Entered 10/29/07 13:53:28 Desc

Main Document Pade 7 of 9

NOTE TO USERS OF THIS FORM:

Physically attach this form as the last page of the proposed Order or Judgment.
Do not file this form as a separate document.

In re

MERIDIAN HEALTH CARE MANAGEMENT, INC.
Debtor.

CHAPTER 7

CASE NUMBER: 1: 06-bk-10733-GM

David R. Hagen vs. Nautic Partners, etc.

Adv. No. 1:07-ap-1186

NOTICE OF ENTRY OF JUDGMENT OR ORDER

AND CERTIFICATE OF MAILING

TO ALL PARTIES IN INTEREST ON THE ATTACHED SERVICE LIST:

1. You are hereby notified, pursuant to Local Bankruptcy Rule 9021-1(a)(1)(E}, that a judgment or order entitled

(specify):
STIPULATION EXTENDING TIME TO OPPOSE AND REPLY RE E4E

THEREON

was entered on (specify date):
oct 29 200F

MOTION TO DISMISS; ORDER

2. | hereby certify that | mailed a copy of this notice and a true copy of the order or judgment to the persons and

entities on the attached service list on (specify date}:

OCT 29 200%

Dated: JON D. CERETTO

act 9 9 nou Clerk of the Bankruptcy Court

, Halon leh

Deputy Clerk

Rev. 1/01 This form is optional. ithas been approved fer use by the United States Bankruptcy Court for the Central District of California. F 9021 -1 ' 1
Case 1:07-ap-01186-GM Doc27_ Filed 10/25/07 Entered 10/29/07 13:53:28
Main Document

Page 8 of 9

SERVICE LIST

In re Meridian Health Care Management, Inc./David R. Hagen,
Chapter 7 Trustee vs. Nautic Partners, LLC, etc..et al.
Case No, 1:06-10733-GM/Adv. No. 1:07-ap-01186-GM

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Attorneys to Debtor

Debra I. Grassgreen, Esq.

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150 California Street, 15" Floor

San Francisco, CA 94111-4500

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21051 Warner Center Lane

Suite 115

Woodland Hills, CA 91367

Chapter 7 Trustee

David R. Hagen

Merritt & Hagen

6320 Canoga Ave., Suite 1400
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Attorneys for Defendants/Nautic Parties

Sara L. Chenetz, Esq.

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DLA Piper US LLP

1999 Avenue of the Stars, Suite 400
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Mark A. Nadeau, Esq.

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2415 E. Camelback Road, Suite 700
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Fenwick & West LLP

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801 California Center
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Jonathan L. Kotlier, Esq.
Sarah Walters, Esq.

Nutter, McClennan & Fish
World Trade Center Wests
155 Seaport Blvd.

Boston, MA 02210

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1875 Century Park East, 23" Floor

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Law Offices of Uzzell S. Branson FE
225 South Lake Avenue, Suite 1400

Pasadena, CA 91101

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Jay D. Christensen, Esq.

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Christensen & Auer

225 §. Lake Avenue, Suite 860
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Chassman & Seelig, LLP

World Trade Center

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55 South Lake Avenue, Suite 705

Pasadena, CA 91101

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James A. Kohn, Esq.

Moldo Davidson Fraioli Seror & Sestanovich LLP
2029 Century Park East, 21" Floor

Los Angeles, CA 90067

Counsel for Chapter 7 Trustee
Richard D. Burstein

Ezra Brutzkus Gubner LLP
21650 Oxnard Street, Suite 500
Woodland Hills, CA 91367

